          Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 1 of 8

                                                             The Honorable Jamal N. Whitehead
1

2

3

4

5

6

7

8
                                   UNITED STATES DISTRICT COURT
9
                                  WESTERN DISTRICT OF WASHINGTON
10
                                            AT SEATTLE
11
      MAKAH INDIAN TRIBE,
12
                     Plaintiff,
13
           v.
14                                                 Case No. 2:24-cv-157
      EXXON MOBIL CORPORATION,
15                                                 STIPULATED MOTION AND ORDER
      EXXONMOBIL OIL CORPORATION, BP               REGARDING BRIEFING SCHEDULE
      P.L.C., BP AMERICA INC., CHEVRON
16    CORPORATION, CHEVRON USA, INC.,              Noted for February 9, 2024
      SHELL PLC, SHELL OIL COMPANY,
17    CONOCOPHILLIPS, CONOCOPHILLIPS
      COMPANY, PHILLIPS 66, and PHILLIPS 66
18    COMPANY,
19                   Defendants.
20

21

22

23

24

25

26

27

28
     STIPULATED MOTION AND                                    GIBSON, DUNN & CRUTCHER LLP
     ORDER RE BRIEFING SCHEDULE - 2:24-                            333 SOUTH GRAND AVENUE,
     cv-157                                                        LOS ANGELES, CA 90071-3197
                                                                          213.229.7000
           Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 2 of 8


1                                                  RECITALS
2           Plaintiff, the Makah Indian Tribe (“Plaintiff”), and Defendants BP America Inc., Chevron Cor-
3
     poration, Chevron U.S.A. Inc., Exxon Mobil Corp., ExxonMobil Oil Corporation, Shell Oil Company,
4
     ConocoPhillips, ConocoPhillips Company, Phillips 66, and Phillips 66 Company, (collectively, “De-
5
     fendants”) (Plaintiff and Defendants are collectively referred to herein as “the Parties”), hereby stipu-
6
     late and agree to the following schedule for briefing of Plaintiff’s anticipated motion to remand, and
7

8    Defendants’ anticipated motions to dismiss.

9           WHEREAS, on December 20, 2023, Plaintiff filed a complaint against 12 Defendants 1 in the
10   Superior Court of the State of Washington in and for the County of King, No. 23-2-25216-1-SEA;
11
            WHEREAS, on February 6, 2024, Defendants Chevron Corporation and Chevron U.S.A. Inc.,
12
     with the consent of all properly named and served Defendants, timely removed this action from the
13
     Superior Court to this Court;
14

15          WHEREAS, Plaintiff intends to file a Motion to Remand, which Defendants intend to oppose;

16          WHEREAS, Defendants also intend to file threshold motions, including, but not limited to,

17   Motions to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6), and certain Defendants object to the exercise
18   of personal jurisdiction, and intend to file Motions to Dismiss pursuant to Fed. R. Civ. P. 12(b)(2),
19
     12(b)(4), and/or 12(b)(5) (collectively “Motions to Dismiss”);
20
            WHEREAS, the Parties agree it would be more efficient for the Parties and the Court for De-
21
     fendants to file Motions to Dismiss or other responses to the Complaint after Plaintiff files a Motion to
22

23   Remand and the Court enters an Order finally resolving any such motion;

24

25

26
     1
       In addition to the Defendants signing this stipulation, the complaint also names foreign entities BP
27   p.l.c. and Shell p.l.c., which Plaintiff represents were served with the summons and complaint on Feb-
     ruary 9, 2024, as defendants. Plaintiff agrees that BP p.l.c.’s and Shell p.l.c.’s deadlines shall be no
28   earlier than the deadlines applicable to Defendants set forth herein.
                                                                           GIBSON, DUNN & CRUTCHER LLP
     STIPULATED MOTION AND                                                      333 SOUTH GRAND AVENUE,
                                                        1
     ORDER RE BRIEFING SCHEDULE -                                               LOS ANGELES, CA 90071-3197
     2:24-cv-00157                                                                     213.229.7000
           Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 3 of 8


1           WHEREAS, based on good-faith discussions among the Parties’ counsel, informed by their
2    experience in addressing these issues in similar cases in other courts, the Parties respectfully submit
3
     that the interests of justice and efficient consideration by this Court can best be achieved by setting a
4
     briefing schedule as set forth below;
5
            WHEREAS, the Parties have conferred and agree that it would serve the interests of judicial
6

7    efficiency and save time and resources to continue the Case Management Conference and related dead-

8    lines until a time following the Court’s decision on Plaintiff’s Motion to Remand;

9           WHEREAS, the Parties recognize that the Court may not be able to enter an order reflecting
10
     the below stipulated briefing schedule before Defendants’ current deadline to respond to the Complaint,
11
     and the Parties therefore agree to abide by the terms of this Stipulated Motion irrespective of whether
12
     the Court is able to act before that time;
13
            WHEREAS, this Stipulated Motion does not operate as an admission of any factual allegation
14

15   or legal conclusion and is submitted subject to and without waiver of any right, defense, affirmative

16   defense, claim, or objection, including lack of subject matter jurisdiction, or lack of personal jurisdic-
17   tion, insufficient process, or insufficient service of process;
18
                                             STIPULATED MOTION
19
            NOW THEREFORE, the Parties hereby agree and stipulate, and respectfully move the Court
20
     to enter an order, as follows:
21

22          1.      Plaintiff’s Motion to Remand shall be filed within 45 days of the filing of this Stipulated

23   Motion. Defendants’ opposition shall be filed within 45 days of Plaintiff’s Motion. Any Reply shall

24   be filed within 30 days of Defendants’ Opposition.
25          2.      No Defendant is required to file an Answer or Motion to Dismiss or otherwise respond
26
     to the Complaint before the Court’s order on Plaintiff’s Motion to Remand.
27

28
                                                                           GIBSON, DUNN & CRUTCHER LLP
     STIPULATED MOTION AND                                                      333 SOUTH GRAND AVENUE,
                                                         2
     ORDER RE BRIEFING SCHEDULE -                                               LOS ANGELES, CA 90071-3197
     2:24-cv-157                                                                       213.229.7000
            Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 4 of 8


1            3.      If the Court denies Plaintiff’s Motion to Remand, the Defendants will file any Motions
2    to Dismiss within 60 days of an Order denying the Motion to Remand. The Parties will also promptly
3
     meet and confer regarding an appropriate briefing schedule and plan for Oppositions and Replies and
4
     page limits for Motions to Dismiss briefing and will endeavor to jointly submit a proposal to the Court
5
     within 10 days of the Court’s order denying Plaintiff’s Motion to Remand. If the Parties are not able
6

7    to agree on a proposed briefing schedule, they will submit separate proposals to the Court.

8            4.      In the event the Court denies Defendants’ Motions to Dismiss, in whole or in part, De-

9    fendants’ answers shall be due within 60 days of the Court’s denial of the last of the Motions.
10
             5.      If the Court grants Plaintiff’s Motion to Remand, the Parties agree to abide by the same
11
     schedule in state court: Defendants will file any Motions to Dismiss within 60 days of the action being
12
     remanded to state court, and the Parties will promptly meet and confer and endeavor to propose a
13
     briefing schedule and plan for those motions within 10 days of the remand order taking effect.
14

15           6.      Defendants reserve the right to seek an extension of time to respond to the Complaint

16   and the Parties reserve the right to request that the Court stay proceedings.
17           7.      The deadline to serve Rule 26(a) Initial Disclosures and the issuance of a Rule 16(b)
18
     Scheduling Order shall be stayed until after the Court has ruled on the Motion to Remand.
19
             8.      Defendants do not, by agreeing to the procedures herein to have the Court consider and
20
     adjudicate the Motion to Remand prior to any further proceedings, waive their objections to personal
21

22   jurisdiction, insufficient process, or insufficient service of process. Plaintiff agrees that it will not assert

23   in federal or state court that there has been any waiver of personal jurisdiction because of the Parties’

24   agreement to have the Court consider and adjudicate the Motion to Remand prior to the filing of Mo-
25   tions to Dismiss.
26

27

28
                                                                               GIBSON, DUNN & CRUTCHER LLP
     STIPULATED MOTION AND                                                           333 SOUTH GRAND AVENUE,
                                                           3
     ORDER RE BRIEFING SCHEDULE -                                                    LOS ANGELES, CA 90071-3197
     2:24-cv-157                                                                            213.229.7000
              Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 5 of 8


1             9.     The deadlines of foreign defendants BP p.l.c. and Shell p.l.c. to file an Answer or Mo-
2    tion to Dismiss or otherwise respond to the Complaint shall be no earlier than the deadlines applicable
3
     to Defendants set forth herein.
4
              Counsel certifies that this memorandum contains 978 words, in compliance with the Local Civil
5
     Rules.
6

7             Dated February 9, 2024.

8     SHER EDLING LLP                                      ORRICK, HERRINGTON & SUTCLIFFE LLP

9     By: /s/ Corrie J. Yackulic                            By: s/Robert M. McKenna
                                                                Robert M. McKenna (WSBA No. 18327)
10        Corrie J. Yackulic, WSBA No. 16063                    rmckenna@orrick.com
          Victor M. Sher (pro hac vice forthcoming)             Mark S. Parris (WSBA No. 13870)
11        Matthew K. Edling (pro hac vice                       mparris@orrick.com
          forthcoming)                                          Andrew Cook (WSBA No. 34004)
12                                                              andrew.cook@orrick.com
          Katie Jones (pro hac vice forthcoming)
          100 Montgomery St., Ste. 1410                         401 Union Street, Suite 3100
13                                                              Seattle, WA 98101
          San Francisco, CA 94104
                                                                Telephone: 206.839.4300
14        Tel: (628) 231-2500                                   Facsimile: 206.839.4301
          Fax: (628) 231-2929
15        Email: corrie@sheredling.com                     GIBSON, DUNN & CRUTCHER LLP
          vic@sheredling.com
16                                                              Theodore J. Boutrous, Jr. (pro hac vice
          matt@sheredling.com
          katie@sheredling.com                                  forthcoming)
17                                                              tboutrous@gibsondunn.com
                                                                Andrea E. Neuman (pro hac vice forth-
18    DRUMMOND WOODSUM & MACMAHON                               coming)
                                                                aneuman@gibsondunn.com
19        Kaighn Smith Jr. (pro hac vice                        William E. Thomson (pro hac vice forth-
          forthcoming)                                          coming)
20                                                              wthomson@gibsondunn.com
          84 Marginal Way, Suite 600
          Portland, ME 04101                                    Joshua D. Dick (pro hac vice forthcoming)
21                                                              jdick@gibsondunn.com
          Tel: (207) 253-0559                                   333 South Grand Avenue
22        Email: ksmith@dwmlaw.com                              Los Angeles, CA 90071
                                                                Telephone: 213.229.7000
23    Attorneys for Plaintiff Shoalwater Bay Indian             Facsimile: 213.229.7520
24    Tribe
                                                           Attorneys for Defendants Chevron Corporation
                                                           and Chevron U.S.A. Inc.
25

26

27

28
                                                                         GIBSON, DUNN & CRUTCHER LLP
     STIPULATED MOTION AND                                                    333 SOUTH GRAND AVENUE,
                                                       4
     ORDER RE BRIEFING SCHEDULE -                                             LOS ANGELES, CA 90071-3197
     2:24-cv-157                                                                     213.229.7000
          Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 6 of 8


1    BYRNES KELLER CROMWELL LLP                   STOEL RIVES LLP
2    By: s/ Bradley S. Keller                     By: s/ Vanessa Soriano Power
                                                       Vanessa Soriano Power, WSBA No. 30777
3        Bradley S. Keller, WSBA #10665                vanessa.power@stoel.com
     By: s/ Joshua B. Selig                            Rachel H. Cox, WSBA No. 45020
4        Joshua B. Selig, WSBA #39628                  rachel.cox@stoel.com
         1000 Second Avenue, 38th Floor                STOEL RIVES LLP
5        Seattle, WA 98104                             600 University Street, Suite 3600
         Tel: (206) 622-2000                           Seattle, WA 98101
6        Fax: (206) 622-2522                           Telephone: (206) 624-0900
7        Email: bkeller@byrneskeller.com          ARNOLD & PORTER KAYE SCHOLER LLP
             jselig@byrneskeller.com
8                                                        Nancy G. Milburn (pro hac vice forthcoming)
     PAUL, WEISS, RIFKIND, WHARTON &                     Diana E. Reiter (pro hac vice forthcoming)
9    GARRISON LLP                                        250 West 55th Street
                                                         New York, NY 10019-9710
10                                                       Tel.: (212) 836-8383
         Theodore V. Wells, Jr. (pro hac vice            Fax: (212) 715-1399
11       forthcoming)                                    Email: nancy.milburn@arnoldporter.com
         Daniel J. Toal (pro hac vice forthcom-          Email: diana.reiter@arnoldporter.com
12       ing)
         Yahonnes Cleary (pro hac vice forth-            John D. Lombardo (pro hac vice forthcoming)
13       coming)                                         777 South Figueroa Street, 44th Floor
         Caitlin E. Grusauskas (pro hac vice             Los Angeles, CA 90017-5844
14                                                       Tel.: (213) 243-4000
         forthcoming)                                    Fax: (213) 243-4199
15       1285 Avenue of the Americas                     Email: john.lombardo@arnoldporter.com
         New York, NY 10019-6064
16       Tel.: (212) 373-3000                            Jonathan W. Hughes (pro hac vice forthcoming)
         Fax: (212) 757-3990                             Three Embarcadero Center, 10th Floor
17       Email: twells@paulweiss.com                     San Francisco, CA 94111-4024
         Email: dtoal@paulweiss.com                      Tel.: (415) 471-3100
18                                                       Fax: (415) 471-3400
         Email: ycleary@paulweiss.com                    Email: jonathan.hughes@arnoldporter.com
19       Email: cgrusauskas@paulweiss.com
                                                  Attorneys for Defendant BP America Inc.
20   Attorneys for Defendants EXXON MOBIL
     CORPORATION and EXXONMOBIL OIL
21   CORPORATION
22

23

24

25

26

27

28
                                                                        GIBSON, DUNN & CRUTCHER LLP
     STIPULATED MOTION AND                                                   333 SOUTH GRAND AVENUE,
                                                     5
     ORDER RE BRIEFING SCHEDULE -                                            LOS ANGELES, CA 90071-3197
     2:24-cv-157                                                                    213.229.7000
           Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 7 of 8


1    CORR CRONIN LLP                             SUMMIT LAW GROUP, PLLC
2    By: s/ Timothy A. Bradshaw                  By: s/ Alexander A. Baehr
         Timothy A. Bradshaw, WSBA No.                Alexander A. Baehr, WSBA No. 25320
3         17983                                       alexb@summitlaw.com
         Jeff Bone, WSBA No. 43965                   s/ Molly J. Gibbons
4        Victoria E. Ainsworth, WSBA No.              Molly J. Gibbons WSBA #58357
          49677                                       mollyg@summitlaw.com
5        1015 Second Avenue, Floor 10
         Seattle, WA 98104-1001                  LATHAM & WATKINS LLP
6        (206) 625-8600 Phone                       Nicole C. Valco (pro hac vice forthcoming)
         (206) 625-0900 Fax                         nicole.valco@lw.com
7        tbradshaw@corrcronin.com                   Katherine A. Rouse (pro hac vice forthcoming)
         jbone@corrcronin.com                       kathrine.rouse@lw.com
8        tainsworth@corrcronin.com                  505 Montgomery St., Suite 2000
                                                    San Francisco, CA 94111-6538
9    WILMER CUTLER PICKERING HALE                   Telephone: (415) 391-0600
      AND DORR LLP
10                                                Attorneys for Defendants Phillips 66 and Phillips 66
          Hallie B. Levin (pro hac vice forthcom- Company
11        ing)
          7 World Trade Center
12        250 Greenwich Street
          New York, NY 10007                      K&L GATES LLP
13        Telephone: (212) 295-6710
          Facsimile: (212) 230-8888               By: s/ Kari L. Vander Stoep
14        Email: hallie.levin@wilmerhale.com          Kari L. Vander Stoep, WSBA # 35923
                                                      925 Fourth Avenue, Suite 2900
15        Matthew T. Martens (pro hac vice forth-     Seattle, Washington 98104-1158
          coming)                                     Tel: +1 206 623 7580
16        2100 Pennsylvania Avenue NW                 Fax: +1 206 623 7022
          Washington, DC 20037                        Email: kari.vanderstoep@klgates.com
17        Telephone: (202) 663-6921
          Facsimile: (202) 663-6363               KELLOGG, HANSEN, TODD,
18        Email: matthew.martens@wil-               FIGEL & FREDERICK, P.L.L.C.
          merhale.com
19                                                    David C. Frederick (pro hac vice forthcoming)
          Robert Kingsley Smith (pro hac vice         James M. Webster, III (pro hac vice forthcoming)
20        forthcoming)                                Daniel S. Severson (pro hac vice forthcoming)
          60 State Street                             Daren G. Zhang (pro hac vice forthcoming)
21        Boston, MA 02109                            1615 M Street, N.W., Suite 400
          Telephone: (617) 526-6759                   Washington, D.C. 20036
22        Facsimile: (617) 526-5000                   Telephone: (202) 326-7900
          Email: robert.smith@wilmerhale.com          Facsimile: (202) 326-7999
23                                                    Email: dfrederick@kellogghansen.com
     Attorneys for Defendants Conocophillips and      Email: jwebster@kellogghansen.com
24   Conocophillips Company                           Email: dseverson@kellogghansen.com
                                                      Email: dzhang@kellogghansen.com
25
                                                 Attorneys for Shell USA, Inc. (f/k/a Shell Oil Company)
26

27

28
                                                                      GIBSON, DUNN & CRUTCHER LLP
     STIPULATED MOTION AND                                                 333 SOUTH GRAND AVENUE,
                                                    6
     ORDER RE BRIEFING SCHEDULE -                                          LOS ANGELES, CA 90071-3197
     2:24-cv-157                                                                  213.229.7000
           Case 2:24-cv-00157-JNW Document 46 Filed 02/16/24 Page 8 of 8


1
                                                   ORDER
2

3           For the reasons above, and finding good cause, the Court hereby grants the Parties’ stipulated

4    motion. It is so ordered.

5

6                                                         A
                                                          Jamal N. Whitehead
7                                                         United States District Judge
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                         GIBSON, DUNN & CRUTCHER LLP
     STIPULATED MOTION AND                                                    333 SOUTH GRAND AVENUE,
                                                      7
     ORDER RE BRIEFING SCHEDULE -                                             LOS ANGELES, CA 90071-3197
     2:24-cv-157                                                                     213.229.7000
